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                        ORIGINAL
             IN THE UNITED STATES DISTRICT COURT
             OR THE SOUTHERN DISTRICT OF
                       DUBLIN DIVISION                      DISTRICT COUR 1
                                                           AUGUSTA DIV.
                                                        ZOThKAY -q
UNITED STATES OF AMERICA          )                                       •1•J

     V.                                 CR
                                             3:14-006                OF GA.
GREGORY P. RANGE


                            ORDER



     On May 8, 2013, a grand jury indicted Defendant Gregory
P. Range for being a felon in possession of a firearm, a
violation of 18 U.S.C. §§ 922(g) (1), 924(a) (2), and 924(e),

and for possession of stolen firearms, a violation of 18
U.S.C. §§ 922(j) and 924(a)(2). (See Doc. No. 1, Criminal
Case No. CR 3:13-004.) Charles C. Butler, Esq. was appointed
to represent Range under the Criminal Justice Act. Range was

arraigned on these two charges before the United States

Magistrate Judge on May 23, 2013.
     The case was originally set for trial on August 28, 2013,
but this trial date was continued upon a joint request of the
parties. The next scheduled trial date, October 22, 2013, was
continued upon motion of Range. The next scheduled trial date
of December 2, 2013, was continued pursuant to another joint
motion. In each Order continuing the trial of the case, the
Court excluded from the time calculation under the Speedy
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Trial Act, see 18 U.S.C. § 3161(h) (7) (A), the time between
filing the motions for continuance and the date the case was
set down for trial. (See Doc. Nos. 79, 95, and 142.:)
     The case was again scheduled for trial on February 26,
2014, but this setting was met by Range's motion for
continuance based upon a potential change in his legal

representation. The motion was granted and the time excluded
from the time calculation under the Speedy Trial Act. ( See
Doc. No. 174.) A status conference was held on March 26,
2014, to inquire into Range's legal representation.

Thereafter, and upon request of Range, the Court terminated
the appointment of Mr. Butler and appointed David A. Cox, Esq.
of Atlanta, Georgia, as Range's counsel under the Criminal

Justice Act. 2
     The trial of this case is now set for May 12, 2014. The
matter has become more complicated, however, because of

Range's alleged criminal conduct while imprisoned at the
Laurens County Jail. On March 5, 2014, Range was indicted by
a grand jury for one count of possession of contraband in
prison, a violation of 18 U.S.C. § 1791 (a) (2) and (b) (3), and



     1  Unless otherwise indicated, the docket numbers refer
to the docket in Criminal Case No. CR 3:13-004.
     2  Mr. Butler remains local counsel for Mr. Cox, who was
admitted pro hac vice. Mr. Butler is serving without
appointment or remuneration.
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for conspiracy to provide or attempt to provide contraband to
persons held in custody, a violation of 18U.S.C. §§ 2 and
371. (See Doc. No. 1, Criminal Case No. CR 3:14-006.) Range
was arraigned on these two charges on March 26, 2014, and Mr.
Butler was appointed to represent him under the Criminal
Justice Act. Presently, the case is scheduled for trial on

June 16, 2014.
     On April 30, 2014, the Court conducted a telephone
conference with Messrs. Butler and Cox and the Assistant
United States Attorney to discuss the most practical way to
proceed in the two cases. Following the telephone conference,

the grand jury handed down a Superseding Indictment on May 7,
2014, in the original case, Criminal Case No. CR 313-004. The
Superseding Indictment effectively consolidates the four
federal charges from the two criminal cases involving Range,
thereby facilitating the conduct of one trial on all pending
counts against Range. Mr. Cox will take the place of Mr.
Butler in representing Range for all purposes, i.e., for all
pre-trial and trial proceedings related to the Superseding
Indictment, and any appeal therefrom. Mr. Butler shall remain
as local counsel if he is needed.
     Having discussed the matter with counsel during the
telephone conference, it is apparent to this Court that Mr.
Cox will be unable to effectively prepare a defense of the


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case, having just entered into the case respecting the
contraband charges, before the trial date of June 16, 2014.
For this reason, and finding that the ends of justice will

only be served thereby, the Court hereby VACATES the scheduled

trial dates of May 12, 2014, in Criminal Case No. 3:13-004 and
June 16, 2014, in Criminal Case No. 3:14-006. After full
consideration of the factors set forth in 18 U.S.C. §
3161(h) (7) (B), the Court concludes that the ends of justice
served by a delay of the trial outweigh the best interest of
the public and the defendant in a speedy trial. Moreover, the
time between the filing of the Superseding Indictment-May 7,
2014-and the next available date the case can be set down for
trial are excluded from the time calculation under the Speedy

Trial Act.
     Further, the Clerk is directed to            VACATE    the CJA

appointment of Mr. Charles C. Butler in Criminal Case No.

3:14-006 and, in his stead, to APPOINT Mr. David A. Cox, who

shall thenceforth serve as CJA counsel. Accordingly, from the
date of this Order, Mr. Cox will appear as Range's CJA
appointed attorney in both cases, while Mr. Butler will remain
as local counsel without remuneration.
     Finally, the Clerk is directed to docket this Order in
both criminal cases, but hereafter the controlling case-
indeed, the case in which the Superseding Indictment has been

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filed-is Criminal Case No. 3:13-004. Criminal Case No. 3:14-
006 will be dismissed at an appropriate time.

     SO ORDERED this 9 day of May 2014, at Augusta, Georgia.




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